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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE SOUTHERN DISTRICT OF ILLINOIS

TJBC, INC.,                                 )
      Plaintiff                             )
                                            )
       v.                                   )      Case No. 3:20-cv-00815-DWD
                                            )
THE CINCINNATI INSURANCE                    )      NOTICE OF APPEAL
COMPANY, INC.                               )
     Defendant                              )
                                            )

       NOTICE IS HEREBY GIVEN that Plaintiff TJBC, Inc. appeals to the United States Court

of Appeals for the Seventh Circuit from the order granting The Cincinnati Insurance Company,

Inc.’s Motion to Dismiss entered on January 25, 2021 (Dkt No. 54), attached hereto as Exhibit A.

DATED:        February 2, 2021




                                                   ____________________________________
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                                CERTIFICATE OF SERVICE

       I hereby certify that on February 2, 2021, I electronically filed the foregoing document

using the CM/ECF system which will send notification of such filing to the e-mail addresses

registered in the CM/ECF system, as denoted on the Electronic Mail Notice List.



                                           /s/ Jay Barnes




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